     Case 2:22-cv-14102-DMM Document 320 Entered on FLSD Docket 03/07/2023 Page 1 of 7

                                                                   y-
                                                                   joy . o.
                                                                          j,
                                                                           e.o --
                                                                                b u-
                                                                                   a.
                                                                                    h..q,zu-
                                                                                           J
                                                                                           't
                                                                                           'l.aaJ
                                                                                               .k
                                                                                                =(-
                                                     >s0% )--
                                                           6ezxx W coy,,zpu.i uclF '
                                                                           c.      r>-1z,
                                                                                        sw'
                                                                                        .
                                                                                          tk ,
             '-                .                                                                                                                   AM        '


      , oyswlk .ys
                 'sz
                   q-cvj
                       zs yrnkyy.                                                                                  ..-


     .p                         z                                                               .
                                                                                                                              e- o,$ A t
                                                                                                                                       ,
                                                                                                                                       .-
                                                                                                                                        /z
                                                                                                                                         &'
                                                                                                                                          :'j'
                                                                                                                                             QyV.
                                                                                                                                              $a
                                                                                                                                                -
                                                                       1p                                        c G .. /4 t
                                                                                                                  .
                                                                                                                           o                                 . 'zsw A'xs
                       MNZ

             A.
              -(z
                >- I<= )
                       y fr?tm fc;wz w t.q-
                                          .yy                                           -
                                                                                                                                      z..
                                                                                                                                        ,
                                                                                                                                        ytppc)xp'.w,
                                                    osy eytczcz-wm.
                                                                  w
             ,         '
                           V' L z'*< z.y
                                       .
                                        y
                                        .   .                      VmvccG Y D'
                                                                             ,'y
                                                                             . -, .- (-'..
                                                                                                         .               ?.       t       X
                                                                            m
                            &'#e
                               ';*<..,
                                     R                                      r jJ
                                                                               .z
                                                                                .y.
                                                                                .
                                                                                  ,
                                                                                  ..                         .            t./ c                = '. wa                               .owwam
                                                                                                    ,,
                                                                                                                                          z   ll
                                                                                                                                               -tupoï                                 r)c k
                                                                              -     g'
                                                                                     f          ,
                                                                                                     .
                                                                                                                  .
                                                                                                                  t..
                                                                                                                    c                     i
                                                                                                                                          j
                                                                                                                                          ,
                                                                                                                                                                                            j
                                                                                                                                                                                            ,
                                                                                                                                                                                            k
                                                                                                                                                                                            1
                                                                                                                                      <-'j               3
                                                                                                                                                         i,
                                                                                                                                                         ,.?
                                                                                                                                                           !
                                                                                                                                                           ,Ai
                                                                                                                                                              ,
                                                                                                                                                              $!;L
                                                                                                                                                              .. -
                                                                                                                                                                 l$'
                                                                                                                                                                   i                        j
                                                                                                                                                                                            1
                                                                                                                                                                                            '
                                                                                                                                         2
                                                                                                                                         r                    ,
                                                                                                                                                            fb,.jcau     :j.
                                                                                                                                                                    ;ok.,' c-
                                                                                                                                                                            .jJ!-.
                                                                                                                                                                                .;u,
                                                                                                                                                                                   , uE
                                                                                                                                                                                   u..      k
                                                          -.
                                                           .

                                                                                    '                                                 +
                                                                                                                                          j
                                                                                                                                          W        QVW
                                                                                                                                                         C
                                                                                                                                                         mL
                                                                                                                                                          -ER.
                                                                                                                                                             KL;Sè
                                                                                                                                                                 -
                                                                                                                                                                 J;t
                                                                                                                                                           C UE'.Xe
                                                                                                                                                                   :
                                                                                                                                                                   kTf
                                                                                                                                                                     --
                                                                                                                                                                      '-
                                                                                                                                                                       j
                                                                                                                                                                       -
                                                                                                                                                                       l
                                                                                                                                                                      = pm ' ' '
                                                                                                                                                                                            j
                                                                                            :                    ,c>              ,                           c?
..   x
         %        .r           Z'                               .
                                                                '.          .               (<
                  )D                /'
                                    'W              &              .                                     '.                   -                                  <
                                                                                                                                                                 P
                                                    R..
r                                               /4r j.j-
                                                       .
                                                       z.
                                                        --.p,
                                                            )
                                                            ,zt
                                                              ::) . .N.
                                                                      y.y .Vy                                            ..
                                                                                                                                          ez,
                                                                                                                                            au&c %z-
     T,h>
                                                '
                                                        v      7gcyp                                7,                4 Z,
                                                                                                                         ,-
                                                                                                                         /,
                                                                                                                          J-->.z
                           .        a

                                    Vsz.
                                       'JG .'
                                            w/ ' '
                                                               o        y
                                                                                            X- aoo-.- M'- . r.cy w.sq                 ,                                                     a
                                                                                                                                                                                          kx..




         f f'to > f'U
             '
                                                                                            &</ czxzèuws
           7/.
           ' ,,-s'
                 p                                             '-
                                                                ,-
                                                                 &yA wowue.lnxvew-o ocs.cz---y tv
                                                                                                lj-.èU,cw
     V&
      .W 6WW                                                     asya
                                                                    x yW'
                                                                        W
                                                                        ay .u guy 1 azm4.zo ., 1,--k.ar /s
        Case 2:22-cv-14102-DMM Document 320 Entered on FLSD Docket 03/07/2023 Page 2 of 7
    '
    & .,
       W             .
                     %m
                      w      /' ev x. c,c?  -o.kz .. z-,p-=- kycr
                                                                * ç-x
                                                                    wt czo                     h
                                                                                                       ,.
                                                                                                                     .    ,


           k>yN ,
    gvz u c'      /t wss
                u. r
                       --g.
                          g,. yc
                               ,'x
                                 -?jy p'o zlzop%-zasjewv7yJt=-
                                               .
                                                            '-W; Y'r       =
   ,     y
,
4 . #-(r hc.z z,.z/Zoo= /'
    .
        ,                % =7 Vtryt2z.
                                     -%= /ae-,
                                             %
.


    z yzs                      .                       .   azv,-g              G ..v-f,va.+ > 'nz4e>4'IK
                                                                                                       -,&n4                                        '         '


                           -
                           ,,,#
                           ,,
                                                                                                                                                .

        xh&          /.;u .a-po > ,,
                                    ,

                                                                     <

            /  cc/- /'
                     e-e-4.
                          e- c-c-wU- V    A > -     '
                                                    > , & =r                                                                                -
                                                                                                                                                    ,
                                                                                                                                                        . ,



            J.
             V)S. -C.- .j ):,
                            '
                            D-'GT'J, u'*
                                       Vze - ' > v x., jk
                                                        y
                                                        v
            XzZ&D'Cx.c                  - .-                             '          C-.< ''


            % -                                            ' cyw F- .R         '-
                                                                                                                 ,.:2:::2(
                                                                                                                 ....    44;j
                                                                                                                         '  :
                                                                                                                            2
                                                                                                                            44
                                                                                                                             j2
                                                                                                                              :&, '
                                                                                                                                  :
                                                                                                                                  ,
                                                                                                                                  i
                                                                                                                                  ï
                                                                                                                                  '
                                                                                                                                  L
                                                                                                                                  -
                                                                                                                                  LLLLL
                                                                                                                                      :3
                                                                                                                                      ;t
                                                                                                                                       .
                                                                                                                                       -
                                                                                                                                       .
                                                                                                                                       ;
                                                                                                                                       :L
                                                                                                                                        :
                                                                                                                                        Lj
                                                                                                                                         ,
                                                                                                                                         -
                                                                                                                                         '-
                                                                                                                                          ''-
                                                                                                                                            '
                                                                                                                                            .
                                                                                                                                            -
                                                                                                                                            .-
                                                                                                                                             .-
                                                                                                                                              .
            /.%
                .
                           N
                                                            ,
                                                                ,.   .
                                                                     t
                                                                         p ,
                                                                               7)f<:
                                                                                   ..û.
                                                                                      -....                 >
             l       ..-




                                          V )o &a.- =
                                                    o)w A.                                c-
                                                                                           .cq :
                                               .

                                                                                                       .



                                                   >ezz. - A
                                                           .-ôvn-roaa-tx <
                                                   ?' .F'
                                                   v    -R               Z      ,ö '=.>sep' .*'R'= %4
                                                       ovzzsz-uca'
                                                                 w #- / cf es
                    J C4b- 7                                     '' .                      .'--. .   -jjc. uz-'
                                                                                                              -
                                                                                                              .
                                                                                                              z
                                                                                                              ' =-. 1
                                                                                           J c; )'
                                                                                           .
                                                                                                 j,4x.'
                                                                                                   :
                                                                                                        xJ j/
                                                                                                        =   .uja-.G'*ct,,.-t.-kv
                                                                                                                              -
                                                                                           y                     z,-
                                                                                                                 . o yc x
                                                                                                                     ..
                                                                                                                                'g
                                                                                                                             ,gvp
                                                                                                                                  .
                                                                                                                                      ,             op
                                                                                                                                                    .



                                                                                      Z & '
                                                                                       ,
                                                                                          v..g-,
                                                                                                                                  .' ./o .eas           /


                                                                                     (-            w, w     ..  .
                                                                                                                -y.msj-
                                                                                                                      g..
                                                                                                                        y = l
                                                                                                                            g:,
                                                                                                                              -,4,t
                                                                                                                                  y '

                                                                                                                   %Y                     g
                                                                                                                                          .ygay.y
 Case 2:22-cv-14102-DMM Document 320 Entered on FLSD Docket 03/07/2023 Page 3 of 7
 pyeg
    .,
     wy
                                                             '
                                                                 .
                                                                     -'

                                                                     y
                                                                     ,
                                                                      --
                                                                            ),s-.=x'wUue
                                                                                       -tvx
                                                                                                    .m * 'w              .   *
                                                                                                    .

                                                      $cc.za /& .
                                                                ea
                                                                 ,.
                                                                  wf',
                                                                     '
                                                                     - X /-
                                                                         ./-?     '
                                                                                                                                              .
          '
          /,7-to, zmesz,o.;'y
                            7                                ,




/DLa4o
     .> f                    '
                             >. /%ufezt axvl-itmps'
                                                  .4 C uU a
  %
          y yy. .                                            //7.
                                                                /tfrrxp y,J.osw'f-
      /&.
      .
        '-- tcrw,ym7 Zt
                      =-1 '                                  ''
                                                             .
                             '
                                                                                                                 -
                .

                 tfze.lkw,,o.                                                     .
                                                                                      c.   ,cvc.ws ,            ..
                                                                                                                     r-
                                                        ,
                                                             ,e.yy s                                u       ,
                                                                                                                                              .
            v
            ..c..
                k-y sz.x.og                                 ''
                                                             Z
                                                             ,k p..
                                                                  y' é/.çiuQ p
                                                                             ;
                                                                             -Jp'e
                                                                                 rK m
                                                                     w**w
                                 '
                         'e.cro          .
                                         .
                                                       g..,
                                                      z .
                                                          .--.
                                                             -
                                                             ' Z7 ..p.-'coewqo.zw-p
                                                             X
      /.)y --   '
                        .-
                         -&'              ' -..-
                        .'

                    :
                    . c;.ju;...
                              j.m
                                ,yn--
                                    .z
                                     nznn-. (cg.,
                                      ,+s #/    o. j-zt-& ,
                             .
                                     g        .

                      r/zzczen <                  cz-ssy
                                                  ,
                                                         c.-6 xcs.a
                                                        .-
                                                                       .




            5 L c   .
                                             .-sr-- ?.                   ,.
                                                                              .
                                                                                               ,.   -,.q
                                                                                                       b'.--
                                                                                                        .
                                                                                                                                      l'n .
                                                                                                                                      ?           ,   =-w
           J.
           .,
            ez Jr
                v7p
                  '
                  MT&.&'L.--S ,                                                        x.-(
                                                                                          ,
                                                                                          v
                                                                                          éz'o.
                                                                                              1
                                                                                              v
                                                                                               --K&+z y-./$
                                                                                              oo g,n .
                                                                                                          'tx,f-
                                                                                                         n .
                                                                                                               wyyk.
                                                                                                                   ,.
                                                                                                                    ) 'v
                                                                                                                 vs .
                                                                                              vae     s     .co.v    -


                                                                                                        ' z,.. s.
                                                                                                 v. ,ro .a  .
                                                                                                                . .x+ &t               .      -


                                                                                                A=
                                                                                                i, za                            -M
                                                                                                                                      e.>
                                                                                                                                        ., =w s.q
                                                                                                Z ''3*N '&, 'W C
                                                                                                   w .. ,-.u , g=,          pz mxe
                                                                                                                                 'cf..v
                                                                                                        .-..k(
                                                                                                        y    )
                                                                                                             .
                                                                                                             ;
                                                                                                             y.
                                                                                                              j
                                                                                                              ;r
                                                                                                               ;
                                                                                                               l
                                                                                                               !
                                                                                                               y-.I
                                                                                                                 ,L.g
                                                                                                                    r
                                                                                                                    .
                                                                                                                    y.j
                                                                                                                      r:
                                                                                                                       ;
                                                                                                                       .;r
                                                                                                                         ;-
Case 2:22-cv-14102-DMM Document 320 Entered on FLSD Docket 03/07/2023 Page 4 of 7
           C ase 3:17-cr-OO23O-JCH Docum ent180 Filed 01/03/22 Page 1 of2



                            UNITED STATES DISTRICT COURT
                              DISTRICT O F CO N NECTIC UT
    UNITED STATES O F AMERICA,
                                                     C RIM INA L CASE No.
                                                     3:17-CR-O230 (JCH)
           V.

    JOHN MCCARTHY,
         Defendant.                                   JANUARY 3, 2022




          ORDER GRANTING MOTIO N TO M ODIFY CO NDITIONS OF RELEASE
                                      (DOC.NO.179)

         The courtgrantsthedefendant'sMotionto ModifyConditionsofRelease (Doc.
   No.179)absentobjection and underthe followingconditions'
                                                          .
         1.M r.M ccarthy w illbe released to the NeuroR estorative CoconutRanch

   Program in Sarasota,Florida effective on the date ofbed availability, January 10,2022.

         2.M r.M ccadhy w illbe required to reside at NeuroRestorative. He is required to

  com ply with program rules and is required to sign a release forProbation and his

  counsel.

         3.M r.M ccarthy w illbe transported to the program by m edicalflightw ith m edical

  personnelsupervision. Mr.Mccarthy shallabide by aIIinstructions, policies,and

  procedures ofmedi
                  calpersonneland crew during ground and airtransportby m edical

  am bulance and m edicalflightfrom New Haven C orrectionalCenterto the

  Neurorestorative Program .
Case 2:22-cv-14102-DMM Document 320 Entered on FLSD Docket 03/07/2023 Page 5 of 7
           Case 3:17-cr-0023O-JCH Document18O Filed 01/03/22 Page 2 Of2



         4.W ithin the firstweekofcommencementoftreatment, M r.M cc arthy's counsel

   and a representative ofthe U .S.Probation Office w illm eetw ith M r. M ccarthy and

  treatm entteam atNeuroRestorative virtually.

         5.ThisCoudwillretainjurisdictionoverMr.Mccadhyand hiscase.Supervision
  willbe tranbferred to the M iddle DistrictofFlorida during M r. Mccadhy's stay at

  NeuroRestorative.                                                                        N   r
         6 The USPO willprovide quaderly status updatesto the Coud
          .
                                                                                      wx
                                                                          .



         7.Mr.Mccarthywillbe subjectto aIIothermandatoryandstandardconditionsof
  supervised release already in place by way ofthe Coud's January 2019 Judgm ent.

         8.AtIeast30 days priorto a successfuldischarge from NeuroRestorative, M r.

  M ccarthy,w orking w ith the U SPO and his counsel, m ustfile a m otion w ith the Court

  proposing a discharge plan. Notice m ustbe provided to the governm ent. Any

  unsuccessfuldischarge w illbe repoded to the C ourtim m ediately.

         9.The Coud m ustapprove any proposed discharge plan before itoccurs.

         10.The pending violation willbe held in abeyance pending M r. Mccarthy's

  padicipation in the NeuroRestorative program .

  SO ORDERED.
        Dated this 3rd dayofJanuary 2022, atNew Haven,Connecticut.



                                           /s/JanetC.Hall
                                           JanetC.Hall
                                           United States D istrictJudge




                                             2
Case 2:22-cv-14102-DMM Document 320 Entered on FLSD Docket 03/07/2023 Page 6 of 7


                                          '
                                              j
                                                              )3
                            'I      '.                '

                          1$ 1
                          '  ,
                                                  ) l-). '' :ç)..
                                     .t
                                      .
                            *.
                             : #      ;.'.'
                                      '
                             - .   .- .
                                      .   j                                                                                      ''                 X
                                     / '
                                          ;
                                                                                                                                 ).
                                                                                                               '
                                                                                                                                :-:
                                                                                                                                -
                                                                                                                                --7 .:7-
                                                                                                                                  --..-
                           >.*.
                           &  A
                              -$                                                                                   /
                                                                                                                   p            $
                                                                                                                                      -
                                                                                                                   vt ,
                                                                                                                      .-.
                                                                                                                        ;Q.
                            k, u                                                                                                     x
                            frdo
                            m
                             ii
                              *x                                                                                   C                 ',
                                   Dx
                             lt4
                             *
                             I/
                              Jom                                                                                  /
                                                                                                                                k          Qf
                                                                                                                                           N

                             4i
                             + y
                               àl
                                tQ
                                 rk
                                   Cu
                                   œ                                                                               z
                                                                                                                   C
                                                                                                                    o 1Y
                                   k<
                                   k
                                   *z                                                                Q
                                                                                                     yz
                                                                                                                   ?r       VJ  .


                                                                                                                                               )
                                   <!
                                     rt
                                                                                         y T-AA V
                                                                                         y V -T W

                                                                                                                                XX
                                                                                                                                               kj
                                                                                   t
                                                                                   '-(?
                                                                              )
                                                                       4r-
                                                                         ...-,-       57
                                                                                       5
                                                                                       6
                                                                      '. - j k!
                                                                              r
                                                                              gj
                                                                               )
                                                                               ,
                                                                              .lj
                                                                                -
                                                                                y
                                                                                .
                                                                                -
                                                                                .                         ,


                                                          '
                                                                     ,,--      7 .
                                                                                  t?-            ,

                                                                          @            -. .                             .
                                                                      ,                                  .

                                                       r--x
                                                       k- r'
                                                          '
                                                         ,,
                                                              (.
                                                               g'
                                                                      .                      .
                                                                                                         j
                                                                                                         ,.
                                                                                                          :
                                                                                                          )
                                                                                                          hx
                                                                                                         i.
                                                                                                            oas
                                                                                                            p           ,

                                                        t'
                                                         jx.    .             x ,:                           N'%            '
                                                                                                                            k
                                                          .-
                                                                A
                                                                '
                                                                      .

                                                                          ,
                                                                                         .
                                                                                          ,.
                                                                                             ;
                                                                                             j
                                                                                             .
                                                                                             ky
                                                                                             .,
                                                                                               .,
                                                                                                .
                                                                                                ,
                                                                                                g
                                                                                                j
                                                                                                 5            y.
                                                                                                              4
                                                        '
                                                          .
                                                               -..
                                                                          ,
                                                                          (
                                                                          y
                                                                          i
                                                                          F
                                                                          t
                                                                          j
                                                                          :
                                                                          .
                                                                          r
                                                                          w),
                                                                            .
                                                                            -
                                                                            ..j
                                                                              :
                                                                              ï
                                                                              '
                                                                              -
                                                                              ,
                                                                              ï
                                                                              t
                                                                              -         -ï               .    N
                                                               (' 4
                                                                  :G
                                                                   u yNq
                                                                       :.:V             s.           '        J
                                                                                                              %
                                                                                                              v
                                                                                                              X)j
                                                                                                              ..
                                                                                       N
                                                               V .w%
                                                                   ï
Case 2:22-cv-14102-DMM Document 320 Entered on FLSD Docket 03/07/2023 Page 7 of 7

                                                                                       '
                                                                                     t-
                                                                                      ,k
                                                                                       t
                                                                                       jk
                                                                                        yk
                                                                                         hqq
                                                                                           jja
                                                                                           .
                                                                                             . .

                                                           k y                             NQ
                                                           %::,
                                                              4 >.      ,

                                                           tk'jb '      j



                                                                   '


                                                -%.h       r't: '      j'
                                                                       '        -
                                                                                .
                                                                                       .
                                                                                           V/CTiC
                                                                                               X'



                                                               )ïx :z
                                                               .
                                                                   yy,9
                                                                      ,.o
                                                                        ,

                                             7.1 9
                                                -w 7f                                i' , U '
                                             -
                                                k'
                                                 ))U'
                                                    ,,-
                                                      b
                                                      k?                .


                                              4.
                                              1     -
                                                                       yy, ,,    ,
                                                                                       .




                                                       ?                    è
                                                                            f          '
                                                                            tu

                                     Q
                                     %
                                     .



                           X
                           ,N.
                                         .




                           b
                                 ,
                                     s,           7klo
                                                     ty
                                                       -   ,                                                  FQ i
                                                                                                               ,
                                                                                                                 2
                                                                                                                 :
                                                                                                                   '.
                                                                                                                   f:,t

                                                                                                              Sk
                                                                                                               &4
                                                                                                               w
                                                                                                               .


                                         qï-,                                                                 X,
                                                                                                              >  0Y
                            N

                             r
                             =
                                         %,
                                         F'
                                         .
                                             '-Q




                                              .
                                               x
                                                        44
                                                         -
                                                         5
                                                         4Y
                                                          ?
                                                          %
                                                          .'                                                  t.
                                                                                                                 m
                                                                                                               Qp. M '.i
                                                                                                              Q IX X
                                                                                                              h4lD M
                                                                                                              W !, nAj
                                                                                                                      ..
                                                                                                                  17 >
                                             --
                                               -                                                               Q
                                                                                                               =m   ,
                                                                                                                    '!:
                                                                                                                 .n r

                                                           ,                                                   01:)2v;
                                                                                                                 r.vzQ'
                                                                                                                      )
                                                                                                               r'         (
                                                                                                                          71

                                         /d
                                          bf?
                                             - -
                                              i        X'                                                          $xxN
                                                                                                                   /
                                         /                                                                         $

                                                                                                                   jà
                                                                                                                    vo .
                                                                                                    .   ..
                                                                                                             ..,           iy

                                                                                                    t
                                                                                                    .                           t
